    Case 3:12-cr-03927-DMS    Document 50   Filed 10/24/12   PageID.157   Page 1 of 1



                       UNITED STATES DISTRICT COURT                   FILED
                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                 lOll OCT 24 PH 2: 45

UNITED STATES OF AMERICA,

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
LUCIA LAURA BENITEZ (1),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been   led in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__x__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

_X
 ___ of the offense(s) as charged in the Information:

     8:1324 (a) (2) (B) (iii) ;18:2



           IT IS THEREFORE ADJUDGED
                                        th~herebY discharged.

 DATED: OCTOBER 23, 2012
                                            Bernard G. Skomal
                                            U.S. Magistrate Judge
